
In re Wilkienson, Doric; Wilkienson, Fannie;—Plaintiff(s); Applying For Writ of Certiorari and/or Review, Parish of St. Tammany, 22nd Judicial District Court Div. G, No. 2008-16823; to the Court of Appeal, First Circuit, No. 2011 CA 1421.
Granted. The case is remanded to the court of appeal for reconsideration in light of Duckworth v. Louisiana Farm Bureau Mutual Ins. Co., 11-2835 (La.11/2/12) So.3d, and Quinn v. Louisiana Fair Plan Ins. Co., 12-0152 (La.11/2/12) — So.3d —.
HUGHES, J., recused.
